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                         THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF UTAH

  RUSSELL GREER,                                     DEFENDANTS’ RESPONSE TO
                                                     ECF NO. 204
         Plaintiff,
  v.
                                                     Case No. 2:24-cv-00421-DBB

  JOSHUA MOON, et al.                                District Judge David Barlow
                                                     Magistrate Judge Jared C. Bennett
         Defendants.

        NOW COME the Defendants, by and through undersigned counsel, and file this

 Response in order to clarify the record with respect to certain of the assertions made by

 the Plaintiff in his filing at ECF No. 204. Because Mr. Greer’s filing at ECF No. 204 is a

 “Response” to two Notices filed by Defendants, rather than to a Motion, Defendants do

 not file a Reply brief. Nevertheless, to clarify the record, Defendants state as follows:

        1. Mr. Greer asserts that he “never told witnesses to not show up to the deposition,

           rather he [t]old them to hire an attorney.” ECF No. 204 at 2. This is incorrect. In

           fact, Mr. Greer additionally told his father he wanted an attorney “to get out of

           this deposition.” ECF No 197-4. Mr. Greer additionally told his father not to

           agree to anything “this crazy man says,” referring to undersigned counsel. Id.

           Plaintiff additionally told Nathan Greer, his brother, that undersigned counsel is

           “a very unethical person, who has been harassing me all week through emails.”

           ECF No. 197-5.
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      2. Even in the context of a criminal complaint rather than a civil suit, there is "no

         talismanic requirement that a [party] must say 'Don't testify' or words

         tantamount thereto…” Owens v. Davey, No. 2:17-cv-01586-JAK (GJS), 2019

         U.S. Dist. LEXIS 148697, at *28 (C.D. Cal. May 23, 2019), quoting People v.

         Thomas, 83 Cal. App. 3d 511, 514, 148 Cal. Rptr. 52 (1978). It is plain from Mr.

         Greer’s behavior that he actively sought to discourage his own disclosed

         witnesses from cooperating with the civil discovery process, calling

         undersigned counsel “a crazy man” and warning his witnesses that defense

         counsel is “an unethical person,” such that the witnesses should not agree to

         anything undersigned counsel says on examination in a deposition.

      3. Mr. Greer additionally asserts that undersigned counsel has violated the

         Standard Protective Order in this case. Undersigned counsel has asked Mr.

         Greer on at least two occasions what provision of the Standard Protective

         Order Mr. Greer feels was violated. Exhibits A and B. Mr. Greer has declined

         to respond, and instead generically continues to assert that the order was

         violated by mere disclosure of names that Mr. Greer himself failed in any way

         to designate as confidential or attorneys-eyes-only. Exhibit C, cf. ECF 194-1.

      WHEREFORE, Defendants clarify the record as set forth above.

          DATED January 2, 2024

                                         HARDIN LAW OFFICE

                                         /s/ Matthew D. Hardin
                                         Matthew D. Hardin
                                         Attorney for Defendants
